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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Phillip J. Green
v.
                                                           Case No. 1:17-mj-00370
MICHAELDONNEL NEELEY,

      Defendant.
________________________________/
                                      ORDER


      Defendant appeared before me on December 6, 2017, with appointed counsel

for a detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f).

After being advised of his rights, including those attendant to a detention hearing,

defendant waived his right to the hearing. I find that his waiver was knowingly

and voluntarily entered.

      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on December 6, 2017.




                                               /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge
